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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 MERCIS B.V.,                                                 Case No.: 1:19-cv-05161

          Plaintiff,                                          Judge Thomas M. Durkin

    v.                                                        Magistrate Judge Maria Valdez

 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                  DEFENDANT
                  24                                   freedom1688
                  41                                    wuchaoqun
                  42                                  wuchaoqun1992
                 343                                       vipkid
                 316                                  michaelshenzhen
                 170                                     strefor68
                 234                                 Toy Alliance Store
                 187                               BabyCaring Store Store
                 331                                     rsggroup
                 300                                     interbaby




DATED: October 6, 2019                                Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
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                                                  Keith Vogt, Ltd.
                                                  111 West Jackson Boulevard, Suite 1700
                                                  Chicago, Illinois 60604
                                                  Telephone: 312-675-6079
                                                  E-mail: keith@vogtip.com

                                                  ATTORNEY FOR PLAINTIFF




                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 6, 2019 with the Clerk of the Court using the
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CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
